Case 17-04252-dd       Doc 81     Filed 08/16/18 Entered 08/16/18 11:17:02           Desc Main
                                  Document      Page 1 of 5


                        UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF SOUTH CAROLINA

IN RE:

Moss Construction of the Low Country,                   Case # 17-04252-dd
LLC,
                                                         Chapter 7
                    Debtor.


      LIMITED OBJECTION TO SALE OF 68 GILDED STREET, BLUFFTON, SC
       Michelle L. Vieira, as Trustee for Joshua J. Zollweg (“Zollweg”) hereby objects to the

Notice of Sale entered July 26, 2018 (the “Sale Notice”) for property located at 68 Gilded Street,

Bluffton, SC (the “Property”) and in support of such objection, would show as follows:

       1. Michelle L. Vieira (“Vieira”) was appointed as Chapter 7 Trustee for Zollweg on
          November 23, 2016.

       2. Zollweg is the 100% owner of Moss Construction Co, LLC, (“Moss”) which
          prepetition has been treated as a disregarded entity on the joint tax returns of Zollweg
          and his non-filing spouse.

       3. Discovery in the Zollweg case revealed that Zollweg contributed substantial value to
          Moss, including a contribution of 100% of the unimproved Property, which he
          purchased using personal funds, and a substantial, yet unquantified, amount of the
          funds necessary to construct the house on the Property.

       4. Zollweg also borrowed funds in his personal name, which he contributed to Moss.

       5. Because of the flow of funds between Zollweg and Moss, Vieira filed Moss into its
          own Chapter 7 and sought to substantively consolidate the two cases.

       6. On December 19, 2017, an Order was entered denying the motion to consolidate and
          determining that Zollweg and Moss were two separate entities and could not be
          substantively consolidated.

       7. On April 18, 2018, Vieira filed a proof of claim against Moss (Claim No. 10) on behalf
          of Zollweg, asserting claims based on the contributions made by Zollweg including the
          contribution of the Property to Moss.
Case 17-04252-dd      Doc 81     Filed 08/16/18 Entered 08/16/18 11:17:02              Desc Main
                                 Document      Page 2 of 5


                            CAPITAL GAINS TAX LIABILITY
     8.    The Notice of Sale anticipates the possibility of capital gains taxes due from the sale
          but does not quantify those taxes. Under the heading “ESTIMATED EXPENSES OF
          SALE” the Notice recites “approximately $TBD for Trustee capital gains tax…all to
          be paid at closing, except for the capital gains tax”.

     9. Moss has never filed a separate tax return because Moss was a 100% solely owned
        disregarded entity.

     10. In the event that the Property is sold under the current proposed sale and there is a
         capital gains tax event, the Zollweg estate will be liable for such capital gain taxes
         without having benefit of receiving any of the funds. The Zollweg estate has
         insufficient funds to pay any capital gains taxes and should not be responsible for any
         such taxes.

     11. Moss has made no provision for payment of such taxes and the proceeds distribution
         in the Sale Notice does not provide for any payment.

     12. The Moss estate has proposed preparing a Schedule C and providing such schedule to
         the Zollweg estate to be included with the Zollweg estate return rather than filing an
         estate return for Moss. Such a schedule C would include expenses of the Moss estate
         such as trustee fees, legal fees and accountant fees as well as other closing costs. Vieira
         is not comfortable signing and filing a return under oath that includes a sale from a
         separate bankruptcy estate that has been judicially determined to be a separate entity.

     13. The transaction as outlined creates potential undetermined liability for the estate of
         Zollweg and confers no benefit to creditors of the estate of Zollweg.

     14. Vieira believes that there may be a procedure for allowing Moss to pay such taxes, if
         any, and relieve the Zollweg estate of any potential liability. Such options might
         include the Moss estate requesting a §505(a)(1) determination from the Bankruptcy
         Court that the Zollweg estate is separate from the Moss estate for tax purposes, and that
         any tax liability flowing from the proposed sale is the separate and sole liability of the
         estate of Moss.

     15. Vieira believes that any tax liability generated from the sale should be borne by the
         Moss estate, since the Moss creditors are receiving the benefit from the sale.

     16. Vieira does not believe that the Moss estate is trying to deliberately shift liability but
         has made no provision in any documentation to protect the Zollweg estate from
         liability.
Case 17-04252-dd        Doc 81    Filed 08/16/18 Entered 08/16/18 11:17:02           Desc Main
                                  Document      Page 3 of 5


   WHEREFORE, Michelle L. Vieira requests the following relief:

   1.    That the Court deny the authorization of the sale until the Moss estate provides language
        in any Order and settlement agreement pursuant to 11 U.S.C. 505(a)(1), that any and all
        tax liability generated by the proposed sale is the sole responsibility of the Moss estate
        and to be reported by the Moss estate;

   2. Such other and further relief as the Court deems appropriate.
        RESPECTFULLY SUBMITTED on this the 16th day of August, 2018, at Murrells Inlet,
South Carolina.

                                              BARTON BRIMM, PA


                                              By: /s/ Barbara George Barton, #1221
                                              Barbara George Barton
                                              P.O. Box 2746
                                              Murrells Inlet, SC 29576
                                              Telephone: (803) 256-6582
                                              bbarton@bartonbrimm.com
                                              Attorney for Michelle L. Vieira, Trustee
Case 17-04252-dd       Doc 81     Filed 08/16/18 Entered 08/16/18 11:17:02          Desc Main
                                  Document      Page 4 of 5


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                                CERTIFICATE OF SERVICE

I, Connie Fraser, hereby certify that on behalf of the Chapter 7 Trustee, I served a copy of the
Limited Objection to Sale of 68 Gilded Street, Bluffton, SC, filed on August 16, 2018, on the
Office of the United States Trustee via electronic filing and electronic transmission through
CM/ECF, pursuant to SC LBR 9036-1, and on the parties in interest as shown below, as indicated,
on August 16, 2018:

Moss Construction of the Low Country, LLC
732 Milldenhall Road
Mount Pleasant, SC 29464
Via Regular Mail

Janet B. Haigler, Trustee
P.O. Box 505
Chapin, SC 29036
Via CM/ECF

Kevin Campbell, Esq.
PO Box 684
890 Johnnie Dodds Blvd.
Mt. Pleasant, SC 29465
Via CM/ECF

Ivan N. Nossokoff, Esq.
Ivan N. Nossokoff, LLC
4000 Faber Place Drive, Suite 300
Charleston, SC 29405
Via CM/ECF

Louis H. Lang, Esq.
Callison, Tighe & Robinson, LLC
P.O. Box 1390
Columbia, SC 29202
Via CM/ECF
Case 17-04252-dd   Doc 81   Filed 08/16/18 Entered 08/16/18 11:17:02    Desc Main
                            Document      Page 5 of 5


                                                 BARTON BRIMM, PA


                                                 BY: /s/ Connie Fraser
                                                 P.O. Box 2746
                                                 Murrells Inlet, SC 29576
                                                 TEL: 803.256.6582
August 16, 2018                                  FAX: 803.779.0267
